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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

CENTER FOR BIOLOGICAL DIVERSITY, et
al.,

                       Plaintiffs,
                                                       Case No. 1:21-cv-119 (RDM)
               v.

U.S. ENVIRONMENTAL PROTECTION
AGENCY, et al.,

                       Defendants.


                           JOINT MOTION FOR SCHEDULING ORDER

       The parties, by and through undersigned counsel, respectfully move the Court for entry of

a summary judgment briefing schedule. Following the Court’s October 17, 2022, hearing

regarding supplemental briefing on the cross-motions for partial summary judgment on Claim

Eight of Plaintiffs’ Complaint, the Court entered a minute order instructing the parties to submit

a status report by November 15, 2022. In the status report (Dkt. 96), the parties requested the

opportunity to propose a case management order (or proposed orders, if unable to agree on

briefing format and deadlines) following the Court’s entry of a decision on Claim Eight, given

that the ruling may affect the substance and/or timing of their briefs on the remaining claims.

       The parties have since conferred (on December 21, 2022, and again on January 19, 2023)

and they are prepared to move forward with summary judgment briefing. Plaintiffs are

concerned about the potential permitting of projects that they believe will harm their interests

and are prepared to file their motion by February 28, 2023. The parties have reached agreement

on a proposed timetable and enlargement of page limits. The parties therefore respectfully

submit that the Court enter a scheduling order as follows:
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Filing                                               Deadline                   Page Limit
Plaintiffs’ Motion for Summary Judgment              February 28, 2023          70

Defendants’ Response / Cross-Motion for              April 26, 2023             70
Summary Judgment

Intervenors’ Response / Cross-Motion for             May 10, 2023               501
Summary Judgment

Plaintiffs’ Consolidated Reply / Response to         June 9, 2023               100 consolidated
Defendants’ and Intervenors’ Motions for                                        filing (alternatively
Summary Judgment                                                                two 50-page filings)

Defendants’ Reply                                    June 30, 2023              40

Intervenors’ Reply                                   July 7, 2023               30

Plaintiffs’ Sur-Reply2                               July 14, 2023              40 consolidated
                                                                                filing

       In light of the number and complexity of the issues presented, the parties also submit that

the Court would benefit from oral argument following the conclusion of briefing.

Dated: January 30, 2023                               Respectfully submitted,

                                                      FOR PLAINTIFFS

                                                      /s/ Tania Galloni
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1
  Intervenors retain the right to request an enlargement of pages if necessary to address the issues
without duplicating arguments presented by the Federal Defendants.
2
  Defendants and Intervenors take no position on Plaintiffs’ request for a Sur-Reply.


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                                  CERTIFICATE OF SERVICE

        I hereby certify that on January 30, 2023, a true and correct copy of the foregoing was

filed electronically with the Clerk of Court using the CM/ECF system, which will send

notification of this filing to the attorneys of record.

                                                          /s/ Tania Galloni
                                                          TANIA GALLONI




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